      Case 23-14263-KCF           Doc 6 Filed 05/19/23 Entered 05/19/23 08:44:20                       Desc OSC
                                    Comply with LR 1006 Page 1 of 2
Form osc1006 − osclr1006v27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 23−14263−KCF
                                         Chapter: 7
                                         Judge: Kathryn C. Ferguson

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Ashley A Miller
   PO Box 167
   Island Heights, NJ 08732−0167
Social Security No.:
   xxx−xx−3963
Employer's Tax I.D. No.:


                          ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                              DISMISSED FOR FAILURE TO COMPLY WITH
                    D.N.J. LBR 1006−1, PAYMENT OF FILING FEES IN INSTALLMENTS

    The debtor filed a petition on May 18, 2023, and has failed to comply with the Court's local rule, D.N.J. LBR
1006−1, Payment of Filing Fees in Installments as noted below:

              Debtor has not paid the filing fee in the amount of $338.00 in full at the time of the filing of the
petition.

              Debtor has not submitted an Application for Individuals to Pay the Filing Fee in Installments.

              Debtor has submitted an Application for Individuals to Pay the Filing Fee in Installments, but has not
paid with the petition the first installment payment in an amount equal to at least 25% of the filing fee.

     It is hereby
    ORDERED that the following document and/or fee must be submitted to the Clerk or the case will be
dismissed.

              Filing fee in the amount of $338.00

              Application for Individuals to Pay the Filing Fee in Installments

              Initial installment payment in the amount of $ 84.50

              Balance of initial installment payment due in compliance with D.N.J. LBR 1006−1, in the amount of $

     The debtor or debtor's attorney must appear at a hearing to be held before the Honorable Kathryn C. Ferguson
on

     Date: June 13, 2023
     Time: 02:00 PM
     Location: Courtroom 2, Clarkson S. Fisher, U.S. Courthouse, 402 E. State St., Trenton, NJ 08608−1507

to show cause why the case should not be dismissed.
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                                    Comply with LR 1006 Page 2 of 2
     If all required documents and/or fees are filed with the Clerk before the hearing date, this Order to Show Cause
will be vacated and no appearance is required.

    Unless all required documents and/or fees are filed before the hearing date on this Order to Show Cause, you
must appear at the hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE
CASE.

     IMPORTANT: Any document filed must be the most recent version of the applicable Official or Local Form.
Please check www.njb.uscourts.gov to find updated forms.




Dated: May 19, 2023
JAN: mrg

                                                Kathryn C. Ferguson
                                                United States Bankruptcy Judge
